                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA     )                      DOCKET NO. 1:03CR27
                             )
           vs.               )                      ORDER TO DESTROY EVIDENCE
                             )
10)BENNIE MARSON TEESATESKIE )



       THIS MATTER is before the Court on the Government's motion for destruction of

evidence seized herein.

       For the reasons stated in the motion and for cause shown, the Court finds that the firearm,

Taurus 9MM model PT-111, S/N TVE89383, now in the possession of the Federal Bureau of

Investigation, should be destroyed in accordance with the usual procedure for the destruction of

such evidence.

       IT IS, THEREFORE, ORDERED that the Government's motion to destroy evidence is

hereby GRANTED, and the firearm Taurus 9MM model PT-111, S/N TVE89383 shall be

destroyed in accordance with the usual procedures for the destruction of such evidence.

                                                Signed: August 4, 2009




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